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IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF OKLAHOMA
UNITED STATES OF AMERICA,

Plaintiff,

)
)
)
)
-vS- ) No. CR-20-014-F
)
TARENCE D. McLANE, )

)

)

Defendant.

WAIVER OF AN INDICTMENT

I understand that I have been accused of one or more offenses punishable by
imprisonment for more than one year. I was advised in open court of my rights and the
nature of the proposed charges against me.

After receiving this advice, I waive my right to prosecution by indictment
and consent to prosecution by information.

Date: Bh 8, 2D2O a nape phere

Defendant's signature

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Signattre of defendant's attorney

Jeu bat

KLE PALL n nglént 's attorney

Judge's La2ad

STEPHEN P. FRIOT
United States District Judge

 
